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  15.4.10.8: TEMPORARY SIGNS PERMITTED (EXCEPT IN THE BPR DISTRICT):
  In addition to the signs permitted in each district as established in sections 15.4.10.5, 15.4.10.6, and
  15.4.10.7 of this chapter, the following signs are also permitted subject to the conditions established in
  this section:
     A. General Provisions For All Temporary Signs:
      1. No sign may be erected on, suspended over, or encroach upon the public right of way, except
  as provided for under section 17-1-5 of this code (dealing with "encroachments"), or be located so as
  to obstruct the visual clearance needed for safe vehicle or pedestrian traffic.
      2. No sign may be attached to utility poles, trees on private property, trees on public right of way,
  streetlight poles, street or traffic signs nor fire hydrants.
      3. No temporary sign shall be erected within twenty feet (20') of the curb line of any adjoining
  street surface except those located in the BPR district in which case the temporary sign shall be flush
  mounted to the building. No sign shall be erected so as to obstruct the visual clearance needed for
  safe vehicular and pedestrian traffic.
      4. If the sign is not communicating a message which is temporary in nature, it shall be required to
  meet the requirements of sections 15.4.10.5, 15.4.10.6, and 15.4.10.7 of this chapter, permanent
  signs.
        5. Temporary signs shall be regulated subject to the following:
           a. Temporary Commercial Signs: To advertise goods or services for economic gain:
              (1) Temporary signs shall be limited to thirty two (32) square feet. (Ord. 2017-17)
         (2) Each individual business will be allowed to display a temporary sign for a period not to
  exceed thirty (30) consecutive days. Each business is allowed a total of one hundred (100) calendar
  days to display temporary signs. A new permit shall be issued each time the temporary sign is to be
  displayed, unless authorized under the original permit. (Ord. 2014-50)
              (3) Maximum height: Six feet (6'), if freestanding.
          (4) Commercial signs prohibited: Includes signs that are carried, waved or otherwise
  displayed by persons either on public rights of way or in a manner visible from public rights of way.
  This provision is directed toward such displays intended to draw attention for a commercial purpose,
  and is not intended to limit the display of banners, flags or other signage by persons participating in
  demonstrations, political rallies, and similar events. (Ord. 2013-31)
          (5) Pennants and streamers may be displayed for a maximum of one hundred fifty (150) days
  per calendar year with a limit of thirty (30) consecutive days per event. (Ord. 2017-08)
              (6) No temporary sign may be illuminated.
          (7) Banners suspended from a building, with a total square footage of fifty (50) square feet
  are permitted for periods up to thirty (30) consecutive days per event, with no limit on the number of
  events.
           b. Temporary Noncommercial Signs:
              (1) Temporary signs shall be limited to thirty two (32) square feet.
          (2) Each individual 501(c) not for profit organization will be allowed to display a temporary
  sign for a period not to exceed thirty (30) consecutive days. Each organization is allowed a total of
  sixty (60) calendar days to display temporary signs. A new permit shall be issued each time the

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  temporary sign is to be displayed. Permit fees may be waived with the approval of the administrative
  official.
              (3) Temporary signs need not be located on the site for which the event is to take place.
    B. Removal Of Temporary Signs: If a temporary sign relates to an event, such sign shall be
  removed within five (5) days after the conclusion of the event. (Ord. 2013-31)




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